Case 1:09-cr-00035-JRH-BKE Document 167 Filed 06/18/13 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF GEORGIA

                                         AUGUSTA DIVISION

 HENRYヽ        在
               ICKLEONARD MCGEE,

                   Pctitioner,

          V.                                           CV l12‑178
                                                          ェ
                                                       (Foェェ
                                                           .erly cR 109‑035&CR l10‑073)
 UNITED STATES OF AMERICA,

                   Rcspondent.



                                              ORDER



          ARer      a   c 1a ,r 姥
                                e″的
                                  θt t    review        ofthe     nle,the       court   concurs   wit

 Judge's Reportand Reco]nmendation,to whichno o明 webeen flied.Accordingly,
                                            ectiOnshそ

 the Rcport and RecoIIIInendation ofthe Magistrate Judge is ADOPTED as ttle
                                                                        of opinlo五

 the Court.Therefore,Respondent's motion to dismissis DENIED.The goverrment shall

 丘le its answer to Pctitioner's s 2255 motionwithinthirty(30)dayS Ofthe datc ofthis Order

          SO ORDERED his立          鮮 怖 ofJune,2013,航 Augusta,Gcorgla




                                                                      AL HAL
                                                       STATES DISTRICT JUDGE
                                                      ERN DISTRICT OF GEORGIA
